 8:95-cr-00012-LES   Doc # 1464   Filed: 06/20/05    Page 1 of 1 - Page ID # 745



               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                     8:95CR12
                              )
          v.                  )
                              )
TRACY JEFFERSON,              )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to release sealed documents (Filing No. 1462).              The Court will

furnish to defendant a copy of her revised presentence

investigation report.     However, the transcripts requested are not

sealed.   Defendant is free to make arrangements with the Court

Reporter to obtain copies of said transcript.             Accordingly,

           IT IS ORDERED that defendant’s motion to release

documents is granted.     A copy of her presentence investigation

report shall be furnished to this defendant only.               Defendant may

obtain copies of the transcripts from the Court Reporter.

           DATED this 20th of June, 2005.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   _________________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court
